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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-80151-Civ-Middlebrooks/Brannon

  SURESH VASUDEYAN KUMAR,

             Plaintiff,

  v.

  KRS GLOBAL BIOTECHNOLOGY, INC., et al.,

             Defendants.

  ____________________________/


                                 ORDER SETTING FLSA SCHEDULE

             THIS CAUSE is before the Court upon order of reference from the district court. This case

  raises claims pursuant to the Fair Labor Standards Act (FLSA). In order to assist the Court in the

  management of the case, and in an effort to foster its early and cost-effective resolution, the Court

  ORDERS that:

       (1)      Within 7 days of first Defendant’s appearance, Plaintiff shall file with the Court a

                statement of claim setting forth (1) the period of time in which Plaintiff was employed

                by Defendants; (2) the amount of the alleged unpaid wages; (3) the calculation of such

                wages (hours worked and hourly rate); (4) the nature of the wages (e.g. overtime or

                regular); and (5) the dates of the alleged violations. Plaintiff shall serve the statement

                of claim, together with copies of all documents supporting the claim (e.g. time slips, pay

                stubs) on defense counsel.




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    (2)   Within 7 days of receiving Plaintiff’s statement of claim, Defendants shall file with

          this Court a response, which is to include all hours worked by Plaintiff during each

          relevant pay period, and the rate of pay and wages paid, including overtime pay, if any.

          Defendants shall serve on Plaintiff’s counsel (but not file) a copy of all time sheets and

          payroll records that support or relate to the time periods in the response.

    (3)   Within 7 days after Defendants file a response, counsel for all parties shall meet and

          confer to settle all pending issues, including attorney’s fees and costs. Counsel shall

          have full authority to settle, and shall set aside sufficient time for a thorough, detailed,

          and meaningful discussion that is calculated to fully resolve the case by agreement.

    (4)   Within 7 days after the settlement discussion, a designated party shall file a Joint

          Report Regarding Settlement that notifies the Court whether:

                  i. The parties have settled the case;

                 ii. The parties have not settled but wish to continue settlement discussions for

                     a specific period of time;

                 iii. The parties wish to engage in either a formal mediation conference before a

                     specific mediator or a settlement conference before a United States

                     Magistrate Judge; or

                 iv. The parties have exhausted all settlement efforts and will continue abiding

                     by the deadlines set forth in the Court’s Pretrial Scheduling Order.

    (5)   Any settlement, bargain, or other compromise resolving an FLSA claim must either be

          presented to the Secretary of Labor or scrutinized by the district court for fairness.

          Lynn’s Food Stores, Inc. v. U.S., 679 F.2d 1350, 1352-53 (11th Cir. 1982). In

          considering settlement of an FLSA claim, the Court is to determine whether the

          settlement is a “fair and reasonable resolution of a bona fide dispute” of the FLSA issues.


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            Id. at 1354-55. If the parties are able to agree on a settlement, they are directed to submit

            the terms of the resolution of this case within 10 days from the date of the notice of

            settlement, in compliance with Lynn’s Food.

            Note: The court will not permit any proposed settlement agreement in the context of

            FLSA settlements to be filed under seal.

    (6)     The Court expects strict adherence to these deadlines. Exceptions will be granted only

            for compelling reasons. Failure to comply may result in the imposition of sanctions,

            including but not limited to the dismissal of the case and the striking of pleadings.

    (7)     Until further order of the Court, the parties shall continue to abide by all existing pre-

            trial deadlines.

          DONE AND ORDERED in Chambers at West Palm Beach in the Southern District of

  Florida, this 19th day of February, 2021.



                                                                DAVE LEE BRANNON
                                                                U.S. MAGISTRATE JUDGE




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